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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Mustafa Kutlu, was on duty and performing my official
duties as a Special Agent with the Federal Bureau of Investigation (“FBI”). Specifically, I am
currently tasked with investigating criminal activity in and around the Capitol grounds. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of federal criminal laws. The
U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification were allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        On January 11, 2021, W-1 (“IT”), informed the FBI that an individual by the name of
James BONET (“BONET”) was present inside the U.S. Capitol on January 6, 2021. IT has mutual
friends with BONET and provided your affiant with links to two videos on what IT claimed was
BONET’s Facebook account. The videos place the individual who recorded the videos on the
Capitol grounds. According to IT, some of the videos on BONET’s Facebook account were deleted
after posting, including one that shows BONET smoking what appears to be a marijuana cigarette
inside the U.S. Capitol.

        Through legal process, your affiant has since confirmed that this Facebook page is
registered to BONET using a phone number that your affiant found to also be associated with
BONET in law enforcement databases. According to W-1, BONET resides in Glen Falls, New
York, which was also confirmed by your affiant through law enforcement databases.

        FBI agents obtained BONET’s vehicle registration information from law enforcement
databases. From that information, your affiant obtained license plate reader (“LPR”) “hits” for
BONET’s vehicle’s license plate. LPR hits confirmed that BONET’s vehicle traveled southbound
on Interstate 95 late in the evening on January 5, 2021 through at least Baltimore, Maryland. LPR
hits then show BONET’s vehicle returned northbound on Interstate 95 through Baltimore and then
eventually to Albany County, New York on Interstate 87 all on January 7, 2021. Your affiant is
not aware of any LPR hits from the District of Columbia or any other LPR hits on January 6, 2021.

       Your affiant also obtained a cell phone screen-captured video recording through an initially
anonymous submission to the FBI showing BONET’s Facebook page from January 6, 2021. The
screen recording included several videos (including the two provided by W-1) corroborating the
information provided by W-1. Follow-up investigation revealed that the screen-captured video
recording was submitted by co-workers of BONET.

        On January 21, 2021, an FBI agent interviewed one co-worker of BONET, W-2. W-2
reported that BONET is a shift manager of W-2’s place of employment in Saratoga Springs, New
York (less than 20 miles from where BONET resides). W-2 relayed that BONET openly talks
about government conspiracy theories at work and tries regularly to convince W-2 and ITs other
co-workers to subscribe to those theories, including the conspiracy theory that the 2020
Presidential Election was “stolen.” W-2 reported that BONET traveled to Washington, D.C.
sometime in November, 2020, to protest the results of the Presidential Election. 1 W-2 stated that
IT and ITs other co-workers remarked that they were afraid BONET would contract COVID-19 at
that protest and spread it to them because they saw photographs of BONET on BONET’s Facebook
account of BONET not wearing a facemask at the November protest.

       W-2 further explained that he is in a group-chat with other co-workers, and on the evening
of January 6, 2021, W-3, who is a co-worker in the group-chat, sent a screen-recorded video of
BONET to the group. The video showed BONET smoking what W-2 called a “joint” inside the
1
 Your affiant notes that on November 14, 2020, there was a large protest in Washington, D.C.
called the “Million MAGA March,” which was aimed at protesting the results of the 2020
Presidential Election. Your affiant has not yet confirmed whether BONET attended this specific
protest, but it was widely attended by individuals from several states who claimed the 2020
Presidential Election was stolen.
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U.S. Capitol. W-2 and his co-workers discussed whether they should report BONET to the FBI;
they ultimately submitted separate tips to the FBI. The FBI agent showed W-2 the screen-recorded
video that was sent in to the FBI, and W-2 confirmed that BONET was the man smoking on the
video inside the Capitol building. W-2 reported that BONET returned to his and W-2’s place of
employment on January 8, 2021.

       Your affiant has included several screenshots from the aforementioned screen-recorded
Facebook video below. The first video is titled “Smoking at the capital building” (sic). What
appears to be a cell phone camera is facing BONET in a “selfie” style. In the video, BONET says
“Capitol building smoking with all my people!” and then pans the camera to show several other
individuals standing around BONET. That screenshot can be found below:
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       An additional video from this screen recording is taken from inside the Crypt of the Capitol,
where BONET is filming other unauthorized persons celebrating and chanting inside the Crypt.
BONET can be heard responding to the chant of “whose house?” with “our house!” a few times.
A screenshot of that video can be found below:




        Another video from that screen recording is titled “Made it in.” Based off the time stamps
of the posts, it appears that this video was posted before the two videos seen above. BONET can
be heard saying “We made it in the building bitches! We’re taking it back! We are taking it back,
we made it in the building!” BONET then walks up a small flight of stairs toward a door to the
Capitol alongside other unauthorized individuals. Two screenshots from this video can be found
below, including one where BONET turns around the cell phone camera to again capture himself:
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       BONET also posted a photograph prior to the videos seen above. The photograph depicts
what appears to be the covered scaffolding of the Capitol, along with several other unauthorized
individuals. A “TRUMP” flag is featured prominently in the photograph, which BONET titled
“Right in the doorsteps this is our house we will take it back.” The photograph can be found below:
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       Similarly, BONET posted a video timestamped before the videos and photograph above,
where he is walking toward the Capitol, with yet another “TRUMP” flag flying in front of him.
The video is titled “Taking our country back.” A screenshot of that video can also be found below:
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
James BONET violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
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building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that James BONET violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Mustafa Kutlu
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of January 2021.
                                                                            2021.01.25
                                                                            21:49:17 -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
